                               Case 20-12814-mkn         Doc 1513     Entered 12/21/20 09:13:44      Page 1 of 2


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                        9                                UNITED STATES BANKRUPTCY COURT
                      10                                           DISTRICT OF NEVADA
                      11       In re:                                             CASE NO. BK-S-20-12814-MKN
                      12                                                            Jointly Administered with
                               RED ROSE, INC.,
                                                                                    Case No. BK-S-20-12815-MKN
                      13                                                            Case No. BK-S-20-12816-MKN
                                            Affects Beachhead Roofing and
                                            Supply, Inc.                            Case No. BK-S-20-12818-MKN
                      14
                                            Affects California Equipment Leasing Case No. BK-S-20-12819-MKN
                                            Association, Inc.                       Case No. BK-S-20-12820-MKN
                      15                                                            Case No. BK-S-20-12821-MKN
                                            Affects Fences 4 America, Inc.
                      16                    Affects James Petersen Industries, Inc. Case No. BK-S-20-12822-MKN
                                            Affects PD Solar, Inc.                  Case No. BK-S-20-12823-MKN
                                            Affects Petersen Roofing and Solar      Case No. BK-S-20-12824-MKN
                      17                                                            Case No. BK-S-20-12825-MKN
                                            LLC
                                            Affects Petersen-Dean, Inc.             Case No. BK-S-20-12826-MKN
                      18                                                            Case No. BK-S-20-12827-MKN
                                            Affects PetersenDean Hawaii LLC
                                            Affects PetersenDean Roofing and        Case No. BK-S-20-12829-MKN
                      19                                                            Case No. BK-S-20-12831-MKN
                                            Solar Systems, Inc.
                                            Affects PetersenDean Texas, Inc.        Case No. BK-S-20-12833-MKN
                      20
                                            Affects Red Rose, Inc.
                                            Affects Roofs 4 America, Inc.           Chapter 11
                      21
                                            Affects Solar 4 America, Inc.
                      22                    Affects Sonoma Roofing Services,
                                            Inc.                                    Date:      December 22, 2020
                                            Affects TD Venture Fund, LLC            Time:     9:30  a.m.
                      23                                                            Location: 300  South Las Vegas Boulevard
                                            Affects Tri-Valley Supply, Inc.
                      24                    Affects All Debtors                                Courtroom 2
                                                                                               Las Vegas, Nevada 89101
                      25
                                   ACF’S STATEMENT REGARDING MOTION FOR ORDER PURSUANT TO
                      26          SECTIONS 105(A), 363, 365, 503 AND 507 OF THE BANKRUPTCY CODE AND
                                   RULES 2002, 6004, 6006, 9007, 9008 AND 9014 OF THE FEDERAL RULES OF
                      27         BANKRUPTCY PROCEDURE APPROVING AND AUTHORIZING: (A) BIDDING
                                 PROCEDURES IN CONNECTION WITH THE SALE OF SUBSTANTIALLY ALL
                      28        OF THE DEBTORS ASSETS TO THE STALKING HORSE BIDDER; (B) FORM AND
      Garman Turner
       Gordon LLP
7251 Amigo Street, Suite 210
 Las Vegas, Nevada 89119                                                     1 of 2
      (725) 777-3000           4821-1819-1825, v. 1
                               Case 20-12814-mkn        Doc 1513      Entered 12/21/20 09:13:44        Page 2 of 2


                        1       MANNER OF NOTICE OF SALE HEARING; (C) SALE OF SUBSTANTIALLY ALL
                                     OF THE DEBTORS ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
                        2      ENCUMBRANCES, AND OTHER INTERESTS, EXCEPT THE DIP FACTORING AND
                                  AS PROVIDED IN THE STALKING HORSE AGREEMENT; (D) PURCHASE
                        3
                                AGREEMENT RELATING THERETO; (E) ASSUMPTION AND ASSIGNMENT OF
                        4        CERTAIN OF THE DEBTORS EXECUTORY CONTRACTS AND UNEXPIRED
                                         LEASES RELATED THERETO; AND (F) RELATED RELIEF
                        5
                                        ACF Finco I, LP (“ACF”), by and through its counsel, the law firm of Garman Turner
                        6
                               Gordon LLP, hereby submits this statement regarding the Motion for Order Pursuant to Sections
                        7
                               105(a), 363, 365, 503 and 507 of the Bankruptcy Code and Rules 2002, 6004, 6006, 9007, 9008
                        8
                               and 9014 of the Federal Rules of Bankruptcy Procedure Approving and Authorizing: (A) Bidding
                        9
                               Procedures in Connection with the Sale of Substantially All of the Debtors Assets to the Stalking
                      10
                               Horse Bidder; (B) Form and Manner of Notice of Sale Hearing; (C) Sale of Substantially all of
                      11
                               the Debtors Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests, Except
                      12
                               the DIP Factoring and as Provided in the Stalking Horse Agreement; (D) Purchase Agreement
                      13
                               Relating Thereto; (E) Assumption and Assignment of Certain of the Debtors Executory Contracts
                      14
                               and Unexpired Leases Related Thereto; and (F) Related Relief [ECF No. 1172] (“Motion”).
                      15
                                        As stated in the Motion, ACF consents to the sale proposed in the Motion. ACF does not,
                      16
                               however, consent to waive its secured liens in the assets subject to the sale in the Motion.
                      17
                                        Dated this 21st day of December, 2020
                      18

                      19                                                     GARMAN TURNER GORDON LLP

                      20
                                                                             /s/ Mark M. Weisenmiller_____
                      21                                                     GREGORY E. GARMAN
                                                                             WILLIAM M. NOALL
                      22                                                     MARK M. WEISENMILLER
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                      23                                                     Las Vegas, Nevada 89119
                                                                             Counsel for ACF Finco I, LP
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       Gordon LLP
7251 Amigo Street, Suite 210
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      (725) 777-3000           4821-1819-1825, v. 1
